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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

                                                           HON.PATRICK J.DUGGAN
                                                           CASE NO.11-20178-1
    UNITED STATES OF AMERICA,

    -V-

    JERON GASKIN,

                                          /

              ORDER DENYING MOTION TO SET ASIDE DETENTION ORDER

                        At a session of said Court, held in the U.S.
                          District Courthouse, Eastern District
                          of Michigan, on August 24, 2011.


          This matter is before the Court on Defendant’s Motion to Set Aside Detention Order

    and for Bond Hearing. For the reasons stated on the record on August 24, 2011;

          IT IS ORDERED that the Motion to Set Aside Detention Order be and the same is

    hereby DENIED.

          IT IS FURTHER ORDERED that defendant shall have no contact with co-

    defendants.

                               s/Patrick J. Duggan
                               Patrick J. Duggan
                               United States District Judge

    Dated: August 24, 2011

    I hereby certify that a copy of the foregoing document was served upon counsel of record
    on August 24, 2011, by electronic and/or ordinary mail.

                               s/Marilyn Orem
                               Case Manager
